                   Case 1:20-mj-00788-SH Document 13 Filed 09/23/20 Page 1 of 2


                               UNITED STATES DISTRICT COURT
                                                        for the
                                                Western District of Texas
                                                    Austin Division

                United States of America                       )
                           v.                                  )
                                                               )    Case No. 1:20-mj-00788-SH-1
                Visente Jaimes-Mendoza                         )
                        Defendant                              )


                                ORDER OF DETENTION PENDING TRIAL
                                            Part I - Eligibility for Detention
     On Motion of the Government attorney pursuant to 18 U.S.C. § 3142(f)(1), the Court held a detention hearing and
found that detention is warranted. This order sets forth the Court’s findings of fact and conclusions of law, as required by
18 U.S.C. § 3142(i), in addition to any other findings made at the hearing.

                            Part II - Analysis and Statement of the Reasons for Detention

  X A. Rebuttable Presumption Arises Under 18 U.S.C. § 3142(e)(3) (narcotics, firearm, other offenses): There is a
    rebuttable presumption that no condition or combination of conditions will reasonably assure the appearance of
    the defendant as required and the safety of the community because there is probable cause to believe that the
    defendant committed one or more of the following offenses:
         X (1) an offense for which a maximum term of imprisonment of 10 years or more is prescribed in the
            Controlled Substances Act (21 U.S.C. §§ 801-904), the Controlled Substances Import and Export Act
            (21 U.S.C. §§ 951-971), or Chapter 705 of Title 46, U.S.C. (46 U.S.C. §§ 70501-70508); or
            (2) an offense under 18 U.S.C. §§ 924(c).

       B. Conclusions Regarding Applicability of Any Presumption Established Above
       The presumption shifts to the defendant only the burden of producing rebutting evidence, not the burden of
       persuasion. United States v. Hare, 873 F.2d 796 (5th Cir. 1989). The defendant has not introduced sufficient
       evidence to rebut the presumption above, and detention is ordered on that basis.

                           Part III - Analysis and Statement of the Reasons for Detention

       After considering the factors set forth in 18 U.S.C. § 3142(g), the pretrial services report, and the evidence and
arguments of counsel presented at the detention hearing, the Court concludes that the defendant must be detained pending
trial because the Government has proven by a preponderance of the evidence that no condition or combination of
conditions of release will reasonably assure the defendant’s appearance as required. In addition to any findings made on
the record at the detention hearing, the evidence, including the Pretrial Services Report, established that Mr. Jaimes-
Mendoza has significant family ties outside the United States and has traveled to Mexico ten times since 2018. In addition,
the weight of the evidence against the defendant is strong, and he has a history of substance abuse. His detention pending
trial therefore is required.




                                                                                                                    Page 1 of 2
                   Case 1:20-mj-00788-SH Document 13 Filed 09/23/20 Page 2 of 2



                                        Part IV - Directions Regarding Detention

      The defendant is remanded to the custody of the Attorney General or to the Attorney General’s designated
representative for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving
sentences or being held in custody pending appeal. The defendant must be afforded a reasonable opportunity for private
consultation with defense counsel. On order of a court of the United States or on request of an attorney for the Government,
the person in charge of the corrections facility must deliver the defendant to a United States Marshal for the purpose of an
appearance in connection with a court proceeding.


Date:     September 23, 2020
                                                               Susan Hightower
                                                               United States Magistrate Judge




                                                                                                                      Page 2 of 2
